                                UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION

PAUL A. WILKIN,                                  )
                                                 )
                   Plaintiff,                    )              Case No. ________
Vs.                                              )              Jury Demand
                                                 )
BERETTA USA CORP.,                               )
                                                 )
                   Defendant.                    )
____________________________________________________________________________________

                                             COMPLAINT
_____________________________________________________________________________________

            Comes now the Plaintiff, Paul A. Wilkin (hereinafter “Plaintiff”), by and through his

undersigned counsel, Bob Lynch, Jr., and sets forth his claims for relief as follows:


      I.       INTRODUCTION:

      The Plaintiff is seeking relief against Defendant, Beretta USA Corp. (hereinafter “Berretta”

and/or “Defendant”), because, as more fully set forth below, he was discriminated and retaliated

against because of his disability in violation of Americans with Disabilities Act as amended in

2008 (see 42 U.S.C. § 12201), and retaliated against for opposing unlawful employment

practices.


      II.      JURISDICTION AND PARTIES:

      1. This court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and 28 U.S.C. §

            1343. This court has venue pursuant to 28 U.S.C. § 1391.




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           Case 3:18-cv-01331 Document 1 Filed 11/30/18 Page 1 of 10 PageID #: 1
      2. At all times material herein, the Plaintiff was employed by the Defendant as a CMM1

            Metrologist.

      3. The Defendant, Berretta USA Corp., is a for-profit corporation which is licensed to do

            business in the state of Tennessee. Its principal address is located at 17601 Beretta Drive,

            Accokeek, Maryland 20607-9515. Its registered agent is C Dale Allen and is located at

            424 Church Street, Suite 2700, Nashville, TN 37219. Beretta operates a

            factory/engineering center located at 1399 Gateway Drive, Gallatin, TN 37066.

      4. At all times material herein, the Plaintiff alleges that the doctrine of respondeat superior

            applies to the acts and omissions of the Defendant’s employees and agents as alleged

            herein.


      I.       STATEMENT OF THE FACTS:

      5. Prior to March 31, 2015, the Defendant recruited Plaintiff for the general position of

            CMM Metrologist. A metrologist is defined as a highly trained person who applies the

            science of weights and measurements to the manufacturing process.

      6. Plaintiff accepted the terms and conditions of employment with Beretta and on or about

            March 31, 2015, he started his employment training at the Maryland facility located at

            17601 Beretta Drive, Accokeek, Maryland 20607.

      7. Subsequent to March 2015, Beretta built a new factory and engineering facility in

            Gallatin, Tennessee. After training completion and when production started at the new

            facility, the Plaintiff was transferred by Beretta to Gallatin, TN.

      8. At all times material herein, when Plaintiff transferred to the facility in Gallatin and



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    CMM = Coordinate Measuring Machine


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           Case 3:18-cv-01331 Document 1 Filed 11/30/18 Page 2 of 10 PageID #: 2
   during his employment in Tennessee, he resided at 1085 Karma Lane, Gallatin, TN

   37066. Plaintiff currently resides at 804 Tree Crossings Parkway, Hoover, AL 35244.

9. Plaintiff suffers from an anxiety/depression mental disorder and he informed his

   supervisor, Chris Tzanakos (Director of Quality), that if his anxiety became too

   overwhelming, he would need to temporarily leave the immediate area and seek a quiet

   and safe space.

10. On March 15, 2016, the Plaintiff got into a dispute with a security guard about where he

   was to park his vehicle, which resulted in his anxiety increasing and he was required to

   go home to avoid the anxiety attack. Permission to do so was granted by his supervisor,

   Chris Tzanakos (hereinafter “Mr. Tzanakos”).

11. On March 16, 2016, several Beretta employees, including Mr. Tzanakos, questioned the

   legitimacy of the Plaintiff’s condition and denied him sick leave even though Plaintiff

   was suffering from symptoms related to his disability. In doing so, Robin Ecker (Sr.

   Human Resources Generalist) informed Plaintiff that he did not leave for a legitimate

   medical reason, but because he was having a temper tantrum.

12. On March 17, 2016, Plaintiff sent an email to his immediate supervisor, Kevin Lancto

   (Plant Quality Manager) stating that he wanted to file a harassment complaint against

   Robin Ecker (hereinafter “Ms. Ecker”) because she had denied his request for sick leave

   rather than accommodate his mental disability. Almost immediately and on that same

   day, the Defendant reversed its position and granted him sick leave for the time required

   to go home and accommodate his disability.

13. On March 18, 2016, Plaintiff was called into a meeting with Mr. Tzanakos and Ms.

   Ecker, who informed him that he was being placed on administrative leave until he was



                                            3

 Case 3:18-cv-01331 Document 1 Filed 11/30/18 Page 3 of 10 PageID #: 3
   cleared for duty by the appropriate medical office.

14. The Plaintiff was required to wait five weeks to see the company-referred psychiatrist for

   an evaluation, and received paid time off.

15. On or about April 14, 2016, the Plaintiff was evaluated by Dr. Stephen A. Montgomery,

   M.D., who is board certified in general psychiatry and the subspecialty of forensic

   psychiatry. Dr. Montgomery prepared a “Psychiatric Fitness-For-Duty Evaluation” report

   concerning the Plaintiff’s condition and provided it to the Defendant on or about April

   19, 2016. (A copy of Dr. Montgomery’s report will be filed contemporaneously with this

   pleading as a sealed exhibit).

16. Significant to this case, Dr. Montgomery found that the Plaintiff was suffering from a

   psychiatric condition, which occasionally interfered with his job performance but the

   disability could be accommodated by Beretta. Dr. Montgomery opined:

           “Mr. Wilkin’s limitations are mild and not present continuously. Rather, they are
           present intermittently. The nature of the limitations is that when he experiences
           stress and frustration circumstances at work, he may need to remove himself from
           the situation until his emotions calm and he can cope with the stressor in a more
           adaptive fashion.”
           (See Sealed Exhibit, p. 3, #3).


17. After Dr. Montgomery cleared the Plaintiff to return to work subject to the limitations set

   forth in ¶15 above, the Plaintiff returned to work on April 25, 2016.

18. At all times material herein, Plaintiff was willing and able to perform his duties and

   functions of his position as CMM Metrologist. At no time would the performance of the

   required functions as a CMM Metrologist, with a reasonable accommodation for

   Plaintiff’s mental disability as determined by the Defendant’s own company-referred

   psychiatrist, be a danger to the Plaintiff or any other person’s health or safety.


                                             4

  Case 3:18-cv-01331 Document 1 Filed 11/30/18 Page 4 of 10 PageID #: 4
19. Accommodations of the Plaintiff’s needs based on his anxiety/depression mental disorder

   would not have imposed an undue hardship on the Defendant.

20. The Plaintiff is an individual with a disability because his mental impairment

   substantially limits his major life activities, he has a record of the impairment, and the

   Defendant regarded him as having such an impairment.

21. Prior to the Plaintiff’s return to work, he was notified by Alison Kotler (Director of

   Human Resources) that in light of Dr. Montgomery’s diagnosis, when he returned to

   work he would need to meet with her and the corporate attorney to formalize the

   accommodation agreement for his disability. Upon his return to work, Plaintiff was not

   contacted by Alison Kotler (hereinafter “Ms. Kotler”) about said meeting, so he emailed

   her about it, but did not receive a response. Plaintiff alleges that the Defendant is bound

   by the accommodation agreement, as recommended by Dr. Montgomery, and accepted by

   the Defendant because it allowed the Plaintiff to return to work subject to it and because

   his mental disability could be reasonably accommodated.

22. Upon the Plaintiff’s return to work on April 25, 2016, he was released to full duty, but

   Mr. Tzanakos stripped him of his full job duties when he instructed Plaintiff not to

   operate the CMM machine, which he was hired and trained to do. Plaintiff alleges that

   this act by Mr. Tzanakos was both discrimination against him because of his mental

   disorder and retaliation against him because of his disability because the operation and

   use of the CMM machine has no bearing on his condition. Throughout Plaintiff’s

   employment at Beretta, he continued to request permission from Mr. Tzanakos to operate

   the CMM machine, but Mr. Tzanakos continued to deny him access to it, thus

   diminishing the Plaintiff’s job duties and causing/contributing to his anxieties.



                                             5

  Case 3:18-cv-01331 Document 1 Filed 11/30/18 Page 5 of 10 PageID #: 5
23. From April 25, 2016 to July 5, 2016, Plaintiff successfully performed his job duties

   without anxiety attacks, although he was continually harassed by Mr. Tzanakos. This

   harassment included giving the Plaintiff meaningless tasks while mocking him in front of

   co-workers because Mr. Tzanakos joked that he did not want to upset Plaintiff with

   normal job tasks.

24. On July 6, 2016, Plaintiff was called to Human Resources because a co-worker had

   complained about the Plaintiff suffering an anxiety attack. This attack was triggered by

   an email from Mr. Tzanakos where he excluded the Plaintiff from job assignments, but

   assigned them to others. Plaintiff alleges that Mr. Tzanakos’ failure to include him in job

   assignments which he could perform is another example of discrimination and retaliation.

   Plaintiff alleges he successfully diffused the anxiety attack with the co-worker and

   immediately returned to his desk, telephoned his therapist, and made an appointment that

   day.

25. After this event, Mr. Tzanakos transferred Plaintiff to second shift, which had not existed

   before. Plaintiff’s job duties continued to be meaningless and limited, despite his

   qualifications as a CMM Metrologist, and he often worked alone in the facility. Although

   Plaintiff was now working second shift, Mr. Tzanakos would stay later during the day

   and continued to directly harass him by stating that the Plaintiff reminded him of his ex-

   wife because she also suffered from anxiety. Also, Mr. Tzanakos questioned the Plaintiff

   about how his mental disorder affected his relationship with his wife.

26. On August 4, 2016, Plaintiff sent an email to Ms. Kotler documenting Mr. Tzanakos’

   harassment and prejudicial actions. On August 8, 2018, Ms. Kotler confirmed receipt of

   Plaintiff’s email/human resources complaint and stated “…allow me to have a few days



                                             6

 Case 3:18-cv-01331 Document 1 Filed 11/30/18 Page 6 of 10 PageID #: 6
   to look into this situation further. I will be in touch with you by the end of this week.”

27. On August 15, 2016, Plaintiff had not heard back from Ms. Kotler so he emailed her. On

   the same date, Ms. Kotler informed Plaintiff that Jeff Reh (General Counsel) would be

   investigating the matter and would contact him. (Attached hereto as Exhibit 1 are emails

   between Ms. Kotler and Plaintiff, which documents events listed in ¶’s 21 -22 above).

28. On August 22, 2016, Plaintiff again emailed Ms. Kotler because he did not hear back

   from Human Resources or Jeff Reh (hereinafter “Mr. Reh”). On that same date, Ms.

   Kotler emailed Plaintiff back and stated:

           “I informed you that Jeff Reh, General Counsel, is now investigating the matter.
           To that point, he will be in Gallatin tomorrow. As I stated before you are welcome
           to reach out to him at any time to discuss with him directly.”
           (Attached hereto as Exhibit 2 is the August 22, 2016 email from Ms. Kotler to
           Plaintiff).


29. Thereafter, Mr. Reh did not contact and/or meet with Plaintiff as promised in connection

   with his August 4, 2016 complaint with Human Resources against Mr. Tzanakos for

   harassment. When Mr. Reh failed to contact the Plaintiff about this complaint, Plaintiff

   emailed him on August 24, 2016, and on August 25, 2016, Mr. Reh unreasonably

   dismissed his complaint and stated:

           “I told Alison I would assess the situation when I was in Gallatin, which I did. I
           had already seen your complaint about Chris before my visit so I wanted to meet
           with Chris to also get his side of the story.
           The strong impression I came away with after talking to Chris is that, far from
           being prejudicial against you, he cares about you and wants to help you continue
           with your job in a professional and responsible manner. Based on my discussions
           with him I was satisfied that it is certainly not his intent, in word or deed, to do
           anything but help ensure you are and remain a capable and dependable
           employee.”
           (Attached hereto as Exhibit 3 is the August 25, 2016 email from Mr. Reh to
           Plaintiff.)


                                               7

 Case 3:18-cv-01331 Document 1 Filed 11/30/18 Page 7 of 10 PageID #: 7
30. The Plaintiff alleges that the failure of Ms. Kotler and Mr. Reh to resolve his complaint

   about Mr. Tzanakos’ harassment constitutes discrimination and retaliation.

31. From August 31, 2016 until September 8, 2016, Plaintiff became increasingly stressed

   and aggravated as a result of Mr. Tzanakos’ harassment and the failure of the Defendant

   to address and fully accommodate his disability.

32. On September 8, 2016, Plaintiff returned to Ms. Ecker’s office where he experienced an

   anxiety attack. An employee from Human Resources told the Plaintiff to take the rest of

   the day (Thursday) off and also the next day (Friday) and he would be charged with

   vacation pay.

33. On September 12, 2016, Ms. Kotler telephoned and emailed the Plaintiff to inform him

   that he was being terminated due to his September 8th actions at Human Resources.

   When Plaintiff questioned Ms. Kotler on the phone about why he was being terminated,

   she informed him that it was because he looked visibly upset. (Attached hereto as Exhibit

   4 is the September 12, 2016 email from Ms. Kotler to Plaintiff).

34. Plaintiff alleges that the proffered reason for his termination from Beretta is a pretext.

   The real reason for Plaintiff’s termination is his mental disability and the Defendant’s

   hostility toward him because of it.

35. On September 13, 2016, Plaintiff emailed Ms. Kotler and requested a letter of separation

   and the reason for his termination and the Defendant did not reply to his email request.

   (Attached hereto as Exhibit 5 is said email).

36. On September 16, 2016, the Defendant emailed Plaintiff and directed him to pick up his

   personal items from Beretta on September 17th (Saturday). (A copy of the September 16,

   2016 email is attached as Exhibit 6).



                                              8

  Case 3:18-cv-01331 Document 1 Filed 11/30/18 Page 8 of 10 PageID #: 8
    37. On September 16, 2016, Plaintiff filed his Charge of Discrimination (No. 494-2016-

          01988) with the Equal Employment Opportunity Commission (hereinafter “EEOC”)

          (Attached hereto as Exhibit 7).

    38. On September 14, 2018, the EEOC issued a Dismissal and Notice of Rights. (Attached

          hereto as Exhibit 8).

    39. Plaintiff alleges that the facts set forth above constitutes willful violations of the

          Americans with Disabilities Act of 1990 and constitutes retaliation against him for

          opposing unlawful employment practices.


    IV.          PRAYER FOR RELIEF:

    WHEREFORE, the Plaintiff having set forth his claims above hereby prays for the following

relief:

    1. Compensatory damages, in an amount to be determined by the jury, because the Plaintiff

          has suffered emotional distress, pain and suffering, and loss to his reputation;

    2. Punitive damages, in an amount to be determined by a jury, because the Defendant, as

          alleged above, acted knowingly, intentionally, fraudulently, recklessly, and maliciously in

          violation of federal anti-discrimination laws and its persistent failure and indifference to

          remedy a situation in which the Plaintiff’s rights were continually violated;

    3. Reinstatement of the Plaintiff to his former position as a CMM Metrologist, and if this is

          not reasonable or appropriate, front pay in an amount to be determined by a jury;

    4. Pre-judgment interest and post-judgment interest;

    5. Attorney’s fees and costs;

    6. Injunctive and declaratory relief to which the Plaintiff is entitled;



                                                    9

      Case 3:18-cv-01331 Document 1 Filed 11/30/18 Page 9 of 10 PageID #: 9
7. For any general relief to which the Plaintiff is entitled, including make-whole relief to

   restore the Plaintiff as nearly as possible to the positon he would have occupied absent

   the discrimination and retaliation; and

8. A jury to hear this cause.




                                                  Respectfully Submitted,

                                                   /s/ Bob Lynch, Jr.
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                                             10

Case 3:18-cv-01331 Document 1 Filed 11/30/18 Page 10 of 10 PageID #: 10
